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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

SHANNON PHILLIPS,                               :
                                                :
               Plaintiff,                       :    Civil Action No. 1:19-cv-19432
                                                :
       v.                                       :
                                                     Hon. Joel H. Slomsky, U.S.D.J.
                                                :
STARBUCKS CORPORATION d/b/a                     :
STARBUCKS COFFEE COMPANY,                       :
                                                :
               Defendant.
                                                :

    DEFENDANT’S MOTION TO VACATE OR AMEND JUDGMENT TO AVOID
                       DUPLICATE DAMAGES

        Defendant Starbucks Corporation d/b/a Starbucks Coffee Company (“Starbucks”), by and

 through its attorneys, Holland & Knight LLP, submits this Motion to Vacate or Amend Judgment

 To Avoid Duplicate Damages pursuant to Fed. R. Civ. P. 59. If the Court does not grant Starbucks’

 Renewed Motion for Judgment as a Matter of Law or its Motion for A New Trial, Starbucks

 respectfully requests that the Court enter an Order amending the judgment to vacate the duplicative

 compensatory and punitive damages awards.

                                                      Respectfully submitted,
                                                      /s/ Richard R. Harris_________
 Dated: July 13, 2023                                 Richard R. Harris (admitted pro hac vice)
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                                                      Coffee Company
